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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )           No. 4:03-CR-561 CAS
                                                  )
DEMAUN VENCE,                                     )
                                                  )
               Defendant.                         )

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant Demaun Vence’s second Motion for Early

Termination of Supervised Release, filed November 2, 2015. For the following reasons the motion

will be denied without prejudice.

       On April 22, 2004, Mr. Vence was sentenced to 120 months imprisonment and a five-year

term of supervised release on a charge of distribute of cocaine base in violation of 21 U.S.C.

§ 841(a)(1). Mr. Vence has been on supervised release since April 20, 2012. Mr. Vence filed a

motion for early termination of his supervised release on August 15, 2014. The Court denied the

motion without prejudice on the basis that Mr. Vence had not completed a significant enough

portion of his five-year term of supervised release. The Court stated he could reapply after

“successfully complet[ing] one additional year of supervised release.” Mem. and Order of Aug. 15,

2014 at 1 (Doc. 53).

       The United States Probation Office states that Mr. Vence has paid the special assessment in

full, and the Court suspended the special condition for drug and alcohol treatment as a result of Mr.

Vence’s successful participation in programming and his negative drug tests. The Probation Office

and the United States Attorney’s Office oppose the early termination of supervised release, however,

because Mr. Vence has not demonstrated stability in employment. Specifically, although Mr. Vence
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completed vocational training through the Probation Office, he has not provided verification of his

secondary employment at TJ’s Home Improvement as required, and failed to notify the Probation

Office that he was unemployed for the months May 2015 through August 2015. As of September

2, 2015, Mr. Vence obtained part-time employment.

       In addition, Mr. Vence was issued three summonses on August 13, 2015 for two instances

of Peace Disturbance and one of Playing Ball in Street. The REJIS record noted “Victim/Suspect

Relation: Ex-Spouse.” Mr. Vence’s ex-wife recently contacted the Probation Office and reported

that she and Mr. Vence continue to have hostile encounters. The Court notes that a state court Order

of Protection was ordered on each party in 2012. The fact that these summonses were issued to Mr.

Vence are of concern to the Court.

       The Court finds that Mr. Vence’s request for early termination of his supervised release

should be denied without prejudice until he has successfully completed one additional year of

supervised release. Mr. Vence may refile a motion for early termination of supervised release one

year from the date of this Order, if he has met all the conditions of supervision. Accordingly,

       IT IS HEREBY ORDERED that defendant Demaun Vence’s Motion for Early Termination

of Supervised Release is DENIED without prejudice. [Doc. 54]

       IT IS FURTHER ORDERED that defendant Demaun Vence may refile a motion for early

termination of supervised release one year from the date of this Order, provided that he has met all

conditions of supervision.




                                                 CHARLES A. SHAW
                                                 UNITED STATES DISTRICT JUDGE

Dated this 9th day of November, 2015.


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